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Embassy of the United States of America

Doha, Qatar
RECEIVED

JUN 26 2006 June 11 2006
DOAR RIECK KALEY & MACK

Law Offices of

Doar, Rieck & Mack

7" Floor, 217 Broadway

New York, New York 10007-2911
Attention: Amy Rothstein

Dear Ms. Rothstein:

This is in response to your letter of May 1, 2006 on behalf of your client, Dr. Yusuf Al
Qaradawi, a national of Qatar.

Yusuf Abdulla Ali Al Qaradawi received an official B1/B2 visa on 03 December 1995,
which expired on 03 December 2005. Dr. Qaradawi’s visa eligibility will be established
at the time of Dr. Al Qaradawi’s next visa application. The Department of State is unable
to determine the length of time required to review Dr. Al Qaradawi’s application once
made.

Please let me know if I can be of any further assistance.

Sincerely,

~ Mba

Chief of Consular Section
American Embassy Doha

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LAW OFFICES OF

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OF COUNSEL
AMY ROTHSTEIN
EILEEN MINNEFOR
DAVID RIVERA
JOHN F, KALEY

May 1, 2006

BY FEDERAL EXPRESS»

Embassy of the U.S.A.
22" February Street
Al Luata Street

P.O. Box 2399

Doha, Qatar

Re: Sheikh Yusuf al-Qaradawi

Dear Sir or Madam:

7TH FLOOR
217 BROADWAY
NEW YORK, N.Y. 10007-2911

FACSIMILE: (212) 962-5037
e-mail: firm@doarlaw.com

I am an attorney representing Sheikh Yusuf al-Qaradawi in litigation in the
United States District Court, Southern District of New York. I seek your assistance in
order to clarify allegations that have been made with respect to Sheikh Yusuf’s visa
status. Plaintiffs in this litigation have alleged that Sheikh Yusuf was “barred,” in 1999
or 2000, from entering the U.S. because of his alleged support of al Qaeda. I do not
believe this to be the case and would appreciate any information you can provide that

would shed light on the circumstances of the denial to Sheikh Yusuf of the ten-year visa
that he had previously obtained. My information is that the U.S. government’s concerns
about Sheikh Yusuf had to do with his alleged support of Hamas, and perhaps Hezbollah,
but not that he was suspected of support for al Queda.

My questions are: (1) Has the Sheikh been “barred” from this country or
merely denied a 10-year visa? Or is there some other, more accurate, description of his
status? (2) With respect to whatever unfavorable action was taken with respect to Sheikh
Yusuf’s visa application, was it based on alleged connections with al Qaeda? (3) Would
you be so kind as to provide whatever documentation you have relating to the above?

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Please let me know if there is any further information you require of me in
order to provide the requested material.

Very truly yours,

i\ : Vote
Amy Rothstein
